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EXHIBIT D

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN mvlsloN
UMG RECoRDiNGs,mc., emz., §§§

Plaintiffs, §§§

§§§ .

Vs_ §§ civil Action No. 1;18-mc~00613-LY____
GRANDE CoMMUNIcATIoNs
NETwoRKs LLc and PATRIOT MEDIA
coNsULrING, LLC,

Defendanfs- DECLARATIoN oF GREGORY

noswELL IN sUPPoRT 0F
PLAmTrFFs’ AND NoN-PARTY mGHTscom>, INC.’s sUPPLEMENTAL MoTIoN
To sEAL cERTAn~r Exmm'rs

I, Gregory Boswell, declare as follows:
1. l am the lead soitware developer at Rightscorp, Ine. (“Rightscorp” , andl am also

one of its founders.
2. I submit this declaration in support of Plaintifl’s’ and Rightscorp’s Supplemental

Motion to Seal Certain Exhibits. l have personal knowledge of the facts set forth below and/or
have learned of these facts as a result of my position and responsibilities at Rightscorp. If called
upon and sworn as a wimcss, l could and Would testify competently as to thc matters set forth

herein
3. I am the lead developer of Rightsoorp’s proprietary system that identifies

infringements and the perpetrators of the infringements (by IP address_, port number, time and
date) by monitoring BitTorrent peer-to-peer file sharing networks, and extracting information
about the infringing activity, including, the IP address, the port, the internet service provider, the
infringing content being uploaded, and the peer computer accessing BitTorrent networks. l will

refer to this system collectively as the “Rightscorp System.”

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4. While l and other Rightscorp personnel have described the Rightscorp System at a
general level in declarations, during depositions, and at trial, Rightscorp considers the specific
technical details cf the Rightsccrp System’s software code and operation to be trade secrets and
highly confidential and proprietary informaticn. R.ightscorp has nct intended to disclose this

specific confidential information, nor am I aware of it having been disclosed, in such testimony.
5. Rightsccrp does not reveal the specific technical details of the Rightscorp

System’s software code and operation publicly. Rather, Rightscorp takes steps to protect this
information through confidentiality agreements, designating the information as confidential and
proprietary, and ensuring that business counterparts and employees dc not disclose or misuse the

information
6. Rightscorp is particularly careful to protect its software code itself, as evident by

the very deliberate and exacting confidentiality measures it insisted upon when making the code
available for inspection by the parties’ experts in this case (e.g., installing the code on a computer
that could not be connected to the internet, negotiating and concluding a heightened

confidentiality agreement with Grande and its expert).
7. Rightscorp derives substantial economic value by virtue of the Rightscorp

System’s confidential nature and the fact that the Rightscorp System’s technical details are not
known publicly cri by competitors cr other entities with whom Rightscorp interacts. If the
specific technical details concerning the Rightsccrp System were revealed publicly,, Rightscorp
would face the prospect of serious competitive or financial hann. Competitors would be able tc
use the information to improve their own competing software systems. Internet service providers
and users of BitTorrent would be able to use the information to attempt to thwart or circumvent
Rightscorp’s infringement monitoring capabilities

l declare under penalty of perjury that the foregoing is true and correct tc the best of my

knowledge and belief.

 

 

 

 

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Executed this 28th day cf Sept_ember, 2018, in Ventura, Cal_if`ornia

,`/sl

Gregcry Boswell

